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                           IN THE UMTED STATES DISTRICT COURT                                  FILED
                        IN AND FOR THE WESTERN DISTRICT OF TEXAS
                                                                                              SEP   -6   2016

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Paul Eric Hawbecker                                                                      WESTERN DIS]CtJ OF TEXAS
                                                                                         BY
       Plaintiff                                                                                            DEPUTY


                                                              Case No. 5:14-cv-1010-XR
               V

Michelle Marie Hall
       Defendant

                              Defendant's Response To Plaintiffs Motion
                                       For Summary Judgment


My name is Michelle Hall. I am the Defendant in this lawsuit. I will ask the courts forgiveness as I
have had no legal training and or knowledge other than what I have been able to Goggle online. I will
due my best in the time constraint and by following the examples I have found online to respond.

                                                A. History
       End of June of 2004 my Daughter told me that Paul Hawbecker had taken Pictures of her nude.
       In response to this I called my sister to take us to the police station. Upon arriving at the station
       we were questioned and a case opened. I was instructed not to speak to my daughter about the
       incident and if my husband or I were able to contact Paul to contact them right away. They
       wanted personal information on Paul that I did not have knowledge of like his birth date, full
       legal name, license plate number, SSN, ect.

   2. About a year later I was contacted by Detective Fanning and was questioned about a camera
      that my husband had taken to Waigreens to be developed. After hours of the Detective
      questions he told us that he believed this to be self portraits that my Daughter had taken in
      response to what happened to her last year. He then had me take her daughter for a forensic
      interview at a place called Sun-gate. It was there and at the conclusion of that interview that the
      Detective and a person from the DA's office informed the me and my husband that more
      happened than they originally believed. They stated that they believed that I and my husband or
      family had not done anything wrong in this matter. They stated that we needed to locate Paul
      Hawbecker. It was then that the Detective told us not to speak of the incident with our daughter
      and that it is common for children to open up and talk about what happened. We were
      instructed that if this happened to stop the child and tell her that we could not discuss the matter
      and that she needed to speak with her therapist. I was instructed that if this happened to report
      it immediately to the Detective. Me and my husband were told that under no circumstance were
      we to talk with our daughter about the case or anything to do with the case. I was referred to
      victims advocate to help and get our daughter into therapy right away. I was told that the DA's
      office will be taking the case and that they would be in contact with us.

   3. Through out the progress  of the case the I was shown a binder containing pictures of thousands
      of children and was asked to identify my child. The pictures were of compromised children. I
      was too disturbed by the photos to identify her. When I asked the Detective where the photos
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*



         had came from I was told that they were from Paul's computer and discs. From when he was
         arrested. I was lead to believe by the Detective at that time that a case was also being opened
         against Paul in Texas.

    4. In about mid November of 2007 me and my husband were contacted by the DA's Office and
       asked to come to the court house. It was there that we were informed by the DA and the
       Detective that they did not feel that my daughter could testify in court and that they would be
       releasing Paul to Texas to face charges there. When the I became upset by this it was explained
       to me that the case here would remain open and that they were still going to be investigating it
       to see if they could identify any of the other children that he had pictures of. I was told to still
       not talk with my daughter about the case or of it details as it was still an open case. The
       Detective then reassured me that the charges Paul was facing in Texas were serious and that he
       was going to be in jail there. I left under the impression that if anything changed or came up in
       the case that I would be notified. Thus I have never spoken to my daughter about what had
       happened.

    5.    Years went by and me and my family continued therapy weekly. Then in the end of 2011 I
         joined Facebook to stay in contact with family, friends, and co-workers after being bedridden by
          surgery. It was at that time that my family therapist recommended me to join a support group.
         Unable to leave bed and being heavily medicated I was unable to find a support group and
          created a private, closed support group on Facebook for victims and their families. Believing
         that the only people that could see the post was the ones in the group I felt free to express what I
         had been feeling and allowed others to do the same.

    6. Early in 2012 I learned that Paul had never been charged in Texas and that he was actually
       teaching children Martial Arts. Very upset and heavily medicated by my Dr. I downloaded
         pictures that were posted as public and shared them to my page tagging them. It was at that
         time a friend pointed out that the pictures also tagged the originals and that I needed to delete
         the tags. At about the same time one of the my co-workers had been harassing me to go to
         Paul's employer and the news stations with my daughter's story. I then falsely stated that I had.
         I believe that this would get her to stop and it did. It also was not a complete lie since I did
         accidentally tag a photo on Paul's page for a few hours before deleting it.

    7.   On April 17th of 2014 I was contacted through Facebook messenger by Brittni Reifenfath at
         1:54 am. At the time I was woken up and was heavily medicated on my prescriptions. I
         continued to speak with her for about an hour believing that Brittni was or was related to a
         victim. I was contacted and carried on the conversation with her over many days.

    8.   On December 1 1th 2014 I came home and was given a packet from my daughter. That was the
         first time I was made aware that I was being sued. My Daughter was the one who signed for
         the packet not me. All the info that was provided was from my out dated ID and after 10 years
         did not match my description at all. At the time I was 2601bs with gray hair that I dye blond to
         help cover the gray. It is clear that this man never seen me but my daughter who is l8Olbs and
         has dark brown hair and at the time 15 years old. My name was also wrong and even Mr. Casey
         kept referring to me by the wrong name in court. It was also the first time I was made aware
         that the case in Colorado against Paul was closed.

                                          B. In Response
I will do my best to respond to each action I am being accused of but please bear in mind that I have
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had no legal training and no legal knowledge of how the law works. I also have no legal representation
 or have not been able to receive legal advice. This is the first dealings I have ever had with a court. I
                     am following examples I have found online from other cases.

      Exhibit 1. I did create what I believed to be a closed, private, support group on Facebook. Being
      new to Facebook I did not know what I do now. I believed and intended that the only people
      that could see the post was those I invited to join the group. The list consisted of my family and
      friends. Over time more asked to join the group and became my friends. With this group I was
      able to reach other victims and lend emotional support. It felt like it helped me to start to heal
      emotionally. The group allowed me and others to vent, sometimes aggressively. I never
      intended for any of my statements to be made public. At this time, I believed there was still an
      open case against Paul. I was never notified that the case was closed, so I wanted my comments
      to be kept private. This is the reason I wanted this to be a closed and private group.

   2. Exhibit 2 Up to this lawsuit, I believed that the case against Paul in Colorado was still open and
      being investigated. This was the first time I have seen court documentation stating otherwise. I
      have never been contacted by anyone stating that the case in Colorado has been closed. I have
      only ever filed one police report against Paul. That was in 2004. I believe this police report to
      be true because I believe my daughter. The other police report filed again Paul was not by me,
      but by the Aurora police department. I know of no other police reports. I still to this day believe
      what my daughter says is true and have faith in her.

  3. Exhibit 3 and 9. On April 17th in early morning hours I was contacted by Brittni Reifenrath.
      believed at the time that this person was a victim or a family member of a person that was
      molested. I believed this because she contacted me about my daughters experience. She
      continued to contact me and carry on a conversation over the next few day by Facebook
      messenger. This is the only way I communicated with her, I did not communicate with her
      through email or any other forms of communication. Brittni is the only person outside my
      circle of friends and family that I have ever had a conversation with about Paul.

  4. Exhibit 9, 16a, 17, 18. In response to these exhibits I did accidentally tag a photo of Paul on his
     employers page. A few hours later I deleted that tag. As stated by Paul's employer as in his
      affidavit of Ryan Howard all I did was like the South Texas Shaolin-Do Facebook page. I never
      commented on his page or accessed or knew I could access members of the page. In no way
      have I ever contacted his employer. Not by phone text or email or any messenger services. In
      response to exhibit 9, other than the messages between me and Bnttni, I do not know who these
      other people are and I never sent these messages. They don't even show on the Facebook
      messenger app on my phone, which is how I access Facebook messenger. I asked one of my
      computer knowledgeable friends about them and how it could of happened. He explained to me
      that if you look at the time and date stamps of each individual message there is less than 3
      minutes between them. He stated that this could be because of many reasons and there was
      probably many more shares like this. It seems to be a computer glitch or update of some sort.
      Thinking back to that time period my arm was in a sling and I was unable to type but with my
      left hand. I am right hand dominant and would not have been able to share that message in that
      time frame. This is supported in the affidavit of Lance Robert Neufeld when he stated that the
      message came in as "Other". I never contacted or had any contact of any kind with a Lance
      Robert Neufeld. Other than Brittni, who I just found out was Paul's friend, I have never had any
      contact with any of Paul's family, friends, or clients. I have never attained any of Paul's
      Facebook Lists.
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5. Exhibit 1. In response    to the accusations that I Incited contempt and violence against Paul. I did
     and do have destine for Paul but in no way did I encourage violence against him. Yes other
     members of the group made violent and threatening statements on the page but! do not believe
     any was directed at him. As this was a support group I did not feel it was my place to stop
     them. The group was an outlet for our anger and was a safe a therapeutic way to release that
     anger. I never incited anyone in the group to go to the media. It was members of the group that
     was pushing me to go to the media as is back by exhibit 1 page 8 post made by Elizabeth Sole. I
     never posted any pictures or links from Paul that he himself did not make public.

6. In response to accusations that I made False Statements to the Court and Plaintiff, a. As for the
      name I believed it did say "please help stop child molesters" till it was pointed out by Mr. Casey
     that it did not and that was just a typo on my part and missing the s at the end of the name. b.
      Yes I stated that I had not been on the group in months. Yes August 11th 20141 changed the
      name of the group. Yes in November 2014 I made a Post to stop someone from advertising. Till
     Mr. Casey pointed out that the name changed I had forgotten that I had did that. I told the court
      about the post about advertising. As I stated in Exhibit 4 at 7, in 7-23. In court I testified that my
     last post was like a year ago. Which is supported by Exhibit 8. My last post was made on
     January 15 2014, months before this hearing in exhibit 4. Yes I stated that! actually haven't
     contacted anyone. This is supported by exhibit 4 at 15, in 10-12 but if you read further I state
     that I don't know how the links got sent out. I still maintain I do not know how the link got sent
     out. In Exhibit 10 it does not show the full conversations. Yes I was in contact with my family
     and friends who wouldn't be. These were conversations I had at the end of 2014 and of 2015.
     This was long before the hearing on September 8th 2015. These family members and friends
     were trying to be helpful. In Exhibit 4 at 16, in 10-25 and 17, in 1-17 and 21, inl2-25 and 22, in
      1-25 and 23, in 1-25 and 24, in 1-25 and 25, in 1-25. was the reason for me removing myself
     from the group. When I was unable to delete the group I had a phone call with Mr. Casey in
     which he stated that he was as an officer of the court able to help me come to an agreement
     about the page. I believed that he was truly helping me. This is supported by exhibit 5 and
     exhibit 6. Mr. Casey had me delete everything I ever posted or said about Paul and also remove
     myself from the group. To which I did. But in doing so I had to make someone else the
     administrator. I had told this to Mr. Casey before leaving the group and he stated that it would
     be fine. As Mr. Freese had stated before that I could make him the administrator that is what I
     did. All of this was done as part of the settlement I was working with Mr. Casey and as the
     Judge had asked of me.

7.   I have never intentionally avoided the truth as Mr. Casey is stating and never attempted to cover
     anything up. To the con-trey I agreed in the hearing on November 23id 2015 to give Mr. Casey
      access to my e-mail accounts and Facebook account to prove that I was not hiding or lying
     about any of my testimony. This also gave him the access to prove who I had contacted and
     didn't. This was all part of the settlement agreement as stated in Exhibit 6 at 12, in 8-17. This
     is where he got Exhibits 1, 7, 8, 9, 10, and 16a. If you refer back to Exhibit 6 at 12, in 8-17 and
     at 13, in 4-9, he stated that this would allow us to settle. He also stated that he was just looking
     for contacts that I had made. He never states that he found anything in my email and the only
     email he has provided the court is one between Brittni Reifenrath and Paul Hawbecker sharing
     the messaging between me and Brittm. He does state that Paul would never see any of my
     personal info from those inquiries to which he did share with Paul. In which he lied to me and
     the courts about.
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                                              In Conclusion
I never really intentionally meant for any of the things said in what I believed to be a private and closed
Facebook group to get out. I never went to any media about Paul. The only people I contacted about the
case with Paul was my Family, Friends, and Co-workers. My best guess is that 98% of the people in
the Facebook group knew of the case from years of knowing me in the first place. There was really no
damages to Paul that he did not bring on himself by going forth with this lawsuit. The reason I believe
that is because now thousands know of the case due to this lawsuit and the media and news articles
written about it. I have been contacted many times and just declined to respond to them. My comments
on the page was at least private whereas all court proceeding are not.
I believe this case should have been settled long ago. I had back in December of 2015 agreed to all his
terms of settlement and had thought we had settled. It was only after I gave him everything he wanted
for the settlement did he come back and say no I want money too. I was not able to do so as I no longer
am able to work due to health issues. I have no money and am losing my family and health. I have
suffered greatly physically and mental due to this lawsuit. I would like to see this settled. I have
complied with all of the courts orders and have cooperated fully with Mr. Casey. I do not understand
why this is still going on. At this point I am starting to wonder if I am being wrongly prosecuted.



                                               Verification
I declare under penalty of perjury that the foregoing is true and correct.




Michelle Marie Hall
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                             CERTWICATE OF SERVICE BY US MAIL
       I hereby certify that on September 3, 2015, I deposited with the US MAIL, express overnight
postage pie-paid, Defendant's Response To Plaintiffs Motion For Summary Judgment addressed to

Casey Law Office PC
595 Round Rock West Drive
Suite 102
Round Rock, TX 78681

I hereby certify that on September 2, 2015, I e-mailed Defendant's Response To Plaintiffs Motion
For Summary Judgment to the addresses of
Mr Casey
infocaseylawoffice.us
and
Ms. Messall
rm@lawmessall.com




Michelle Marie Hall
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